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Victoria Bauman

                               UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF WISCONSIN

                                              CASE NO. 1:21-cv-00519
Victoria Bauman

                         Plaintiff,           CERTIFICATION AND NOTICE OF
                                              INTERESTED PARTIES (CIVIL LOCAL RULE
        v.                                    7.1)

Kohl’s Corporation

                         Defendant

To: The Court and All Parties of Record.
The undersigned, counsel of record for Victoria Bauman, certifies that the following listed
parties may have a pecuniary interest in the outcome of this case. These representations are
made to enable the Court to evaluate possible disqualification or recusal.
Party                                                Connection/Interest
Victoria Bauman                                      Plaintiff
Kiel, WI

Elliot Gale                                          Counsel for Plaintiff
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                                                     Gale, Angelo, Johnson, & Pruett, P.C.

Dated: April 23, 2021                                /s/ Elliot Gale
                                                     Elliot Gale
                                                     Attorney for Plaintiff




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